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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1253V
                                          UNPUBLISHED


    DANIELLE HORNE,                                             Chief Special Master Corcoran

                         Petitioner,
    v.                                                          Filed: May 23, 2022

    SECRETARY OF HEALTH AND                                     Special Processing Unit (SPU);
    HUMAN SERVICES,                                             Damages Decision based on Proffer;
                                                                Influenza (Flu); Shoulder Injury
                         Respondent.                            Related to Vaccine Administration
                                                                (SIRVA).

Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Jamica Marie Littles, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES1

       On September 23, 2020, Danielle Horne filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of the influenza (“flu”) vaccine administered on
October 18, 2018. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

        On December 17, 2021, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for a Table SIRVA. On May 23, 2022, Respondent filed a proffer
on an award of compensation (“Proffer”). In the Proffer, Respondent represented that


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Petitioner agrees with the proffered award. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

     Pursuant to the terms stated in the attached Proffer, I award the following
compensation:

      A lump sum of $75,000.00 (for pain and suffering) in the form of a check payable
to Petitioner. This amount represents compensation for all damages that would be
available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                   )
 DANIELLE HORNE,                                   )
                                                   )
                Petitioner,                        )
                                                   )     No. 20-1253V
 v.                                                )     Chief Special Master Corcoran
                                                   )     ECF
 SECRETARY OF HEALTH AND HUMAN                     )
 SERVICES,                                         )
                                                   )
                Respondent.                        )
                                                   )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On September 23, 2020, Danielle Horne (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), as amended. Petitioner alleges that she suffered a Shoulder Injury

Related to Vaccine Administration (“SIRVA”), as defined in the Vaccine Injury Table, following

her receipt of an influenza (“flu”) vaccination in her left shoulder on October 18, 2018. See

Petition (“Pet.”) at 1; Exhibit (“Ex.”) 1 at 13, 17-18. On December 17, 2021, the Secretary of

Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act for a SIRVA Table injury, and on the

same day, the Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to

compensation. ECF No. 27-29.

I.     Type of Compensation

       Respondent proffers that petitioner should be awarded $75,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). This amount represents all elements of compensation to which

petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.
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II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent requests that the Chief Special Master’s decision and the Court’s judgment award

the following1: a lump sum payment of $75,000.00, in the form of a check payable to petitioner.

III.   Summary of Recommended Payment Following Judgment

       Lump sum payable to petitioner, Danielle Horne:                              $75,000.00

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              ALEXIS B. BABCOCK
                                              Assistant Director
                                              Torts Branch, Civil Division

                                              /s/ Jamica M. Littles
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DATED: May 23, 2022


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
